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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR. S-07-00314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                CONTINUING STATUS CONFERENCE
           v.                            )                AND EXCLUDING TIME
12                                       )
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18      1.      A status conference in this matter is now scheduled for June 16, 2008 at 10:00 a.m.
19      2.      This case involves an alleged complex scheme to defraud the Unemployment
20              Insurance System. At this point, approximately 1,000 pages of discovery have been
21              produced not including video tape/DVD evidence, which the parties must review to
22              prepare for trial. The parties continue to review the discovery and conduct
23              investigation necessary to prepare for trial as well as pretrial motions. Additionally,
24              attorney Donald Dorfman will be involved in a jury trial and unavailable on June 16.
25              In light of the need for attorney preparation and continuity of counsel, a continuance
26              of the status conference until August 4, 2008 is requested.
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 1   3.      It is stipulated by the parties that time continue to be excluded to August 4, 2008 for
 2           preparation of counsel as well as continuity of counsel pursuant to local code T4. 18
 3           U.S.C. 3161(h)(8)(B)(iv).
 4
     DATED: June 12, 2008                /s/ Tim Warriner
 5                                       Attorney for defendant, TERESA MARIA MORALES
 6
     DATED: June 12, 2008                /s/ Bruce Locke
 7                                       Attorney for defendant, ENRIQUE MORALES
 8
     DATED: June 12, 2008                /s/ Miguel A. Hernandez
 9                                       Attorney for defendant, JOSE LUIS MORALES
10
     DATED: June 12, 2008                /s/ Clarence Emmett Mahle
11                                       Attorney for defendant, JUAN MORALES
12
     DATED: June 12, 2008                /s/ Donald P. Dorfman
13                                       Attorney for defendant, PETRA PRECIADO MORALES
14
     DATED: June 12, 2008                /s/ Matthew Stegman
15                                       Assistant U.S. Attorney
16
17
                                             ORDER
18
          GOOD CAUSE APPEARING, it is hereby ordered that the status conference set for June
19
     16, 2008 be continued to August 4, 2008 at 10:00 a.m., and that time continue to be excluded
20
     to August 4, 2008 for preparation of counsel and continuity of counsel pursuant to Local
21
     Code T4, 18 U.S.C. 3161(h)(8)(B)(iv).
22
 .
23
     DATED: June 12, 2008
24                                              _______________________________________
25                                              FRANK C. DAMRELL, JR.
                                                UNITED STATES DISTRICT JUDGE
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28                                                 2
